Case 3:05-cr-00436-JM        Document 135   Filed 01/29/09    PageID.883   Page 1 of 1



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  8                              UNITED STATES DISTRICT COURT

  9                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA

 10
      UNITED STATES OF AMERICA,              )               CASE NO. 05CR0436-02-JM
 11                                          )
                      Plaintiff,             )               ORDER GRANTING
 12   v.                                     )               JOINT MOTION TO CONTINUE
                                             )               STATUS HEARING
 13   MARIA DEL CARMEN PEDROARENA,           )               [Docket No.134]
                                             )
 14                   Defendant              )
      _____________________________________ )
 15

 16         Upon the joint motion of the parties (Docket No. 134) and for good cause

 17   appearing therefore:

 18         IT IS HEREBY ORDERED that the presently set Status Hearing scheduled for

 19   January 30, 2009 at 9:00 a.m. be and hereby is continued to April 24, 2009 at 9:00 a.m.

 20   as to Defendant Maria del Carmen Pedroarena.

 21         IT IS SO ORDERED.

 22   DATED: January 29, 2009

 23
                                                Hon. Jeffrey T. Miller
 24                                             United States District Judge

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